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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA                             JS-6
                                        CIVIL MINUTES – GENERAL


Case No.         SACV 20-02382-CJC (JDEx)                              Date      April 27, 2021
Title            Yeong Lee v. BSG West Bristol, LLC et al


 PRESENT: HONORABLE CORMAC J. CARNEY, UNITED STATES DISTRICT JUDGE


                         Cheryl Wynn                                          Not Reported
                         Deputy Clerk                                         Court Reporter
               Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                         None Present                                         None Present

 PROCEEDINGS:     (IN CHAMBERS) ORDER DISMISSING ACTION FOR LACK OF
                  PROSECUTION
 _________________________________________________________________________

         It is a plaintiff’s responsibility to prosecute the action diligently and respond promptly
 to Court orders. The Court’s Order Regarding Prosecution of Certain Cases Under the
 Americans with Disabilities Act states that “a request for default must be filed no later than 5
 days after the time the response to the complaint would have been due.” (Dkt. 8
 [hereinafter the “Order”] at 2 [emphasis in original].) The Order further admonishes that
 “failure to comply with this Order in a particular case will result in a dismissal for lack of
 prosecution.” (Id. at 3.)

        In this case, Plaintiff served Defendant on March 23, 2021. (Dkt. 12.) Defendant’s
 answer was therefore due on or before April 13, 2021
        . (Id.) Although more than 5 days have passed since that date, Defendant has not
 responded to the Complaint and Plaintiff has not filed a request for default. The Court
 therefore DISMISSES this action for lack of prosecution.

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                                                            Initials of Deputy Clerk: w            cw




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